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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &       FOR COURT USE ONLY
 Email Address
 Ashley M. McDow (245114)
 John A. Simon (Admitted Pro Hac Vice)
 Shane J. Moses (250533)
 555 South Flower Street, Suite 3300
 Los Angeles, CA 90071
 Telephone: (213) 972-4500
 Facsimile: (213) 486-0065
 Email: amcdow@foley.com
         jsimon@foley.com
         smoses@foley.com



      Individual appearing without attorney
      Attorney for: all Debtors

                                       UNITED STATES BANKRUPTCY COURT
                         CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION DIVISION

 In re:                                                                       CASE NO.: 19-bk-14989 (jointly administered)
 SCOOBEEZ, et al.
 SCOOBEEZ GLOBAL, INC.                                                        CHAPTER: 11
 SCOOBUR, LLC
 Debtors and Debtors in Possession

                                                                                   NOTICE OF SALE OF ESTATE PROPERTY

                                                              Debtor(s).


 Sale Date: 10/14/2019                                 if needed              Time:                                                 10:00 am PT
 Location: 555 South Flower St., Ste. 3300, Los Angeles, CA 90071

Type of Sale:           Public         Private               Last date to file objections: 10/01/2019

Description of property to be sold:
Substantially all the assets of the Debtors, including accounts receivable, inventory, tangible personal property,
intellectual property assets, assumed executory contracts and leases, cash, and certain claims and causes of action
expressly agreed in the Agreement, subject to certain Working Capital Adjustments.



Terms and conditions of sale: The sale is subject to the Order (I) Approving Bidding Procedures for Sale of Assets (II)
 Approving the Expense Reimbursement; (III) Approving the Process for Notifying Non-Debtor Contract Counterparties
 of Assumption and Assignment of Contracts; and (IV) Granting Related Relief (the "Bid Procedures Order"), entered by
 the Court on September 17, 2019 [Dkt. No. 321] and the Bidding Procedures and notices which were approved in the
 order.

                     $ 9,000,000.00
Proposed sale price: _________________________________
                                               (subject to overbids)



           This form is mandatory. It has been approved for use in the United States Bankruptcy Court for the Central District of California.

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Overbid procedure (if any):
Parties wishing to overbid must first become Qualified Bidders and submit Qualified Bids on or before October 11, 2019
specifically in accordance with the Bid Procedures Order and Bid Procedures. Without limiting the foregoing, an initial
overbid must be at least $9,200,000 and subsequent overbids at auction are in $50,000 increments.
If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:
 October 17, 2019 at 10:00 a.m. Pacific Time
 United States Bankruptcy Court for the Central District of California - Los Angeles Division
 255 East Temple Street
 Los Angeles, CA 90012
 Courtroom 1375




Contact person for potential bidders (include name, address, telephone, fax and/or email address):
 John A. Simon
 Ashley M. McDow
 Shane J. Moses
 555 South Flower St., Ste. 3300
 Los Angeles, CA 90071
 (213) 972-4500
 jsimon@foley.com
 amcdow@foley.com
 smoses@foley.com




Date: 09/20/2019




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                                     PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
Foley & Lardner LLP, 555 South Flower Street, Suite 3300, Los Angeles, CA 90072-2411
A true and correct copy of the documents entitled (specify): NOTICE OF SALE OF ESTATE PROPERTY will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General Orders
and LBR will be served by the court via NEF and hyperlink to the document. On (date) 9/20/2019, I checked the CM/ECF
docket for this bankruptcy case or adversary proceeding and determined that the following persons are on the Electronic Mail
Notice List to receive NEF transmission at the email addresses stated below:


                                                                                                 Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 9/20/2019, I served the following persons and/or entities at the last known addresses in this bankruptcy case or
adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail, first class,
postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the judge will be
completed no later than 24 hours after the document is filed.

Honorable Julia W. Brand
United States Bankruptcy Court
Central District of California
Edward R. Roybal Federal Building and Courthouse
255 E. Temple Street, Suite 1382
Los Angeles, CA 90012

                                                                                         Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method for
each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                         , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such
service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that
personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.


                                                                                         Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.
   9/20/2019                Sonia Gaeta                                        /s/ Sonia Gaeta
   Date                     Printed Name                                       Signature




4837-9716-7782.1
             This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


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1.       TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):
 John-Patrick M Fritz jpf@lnbyb.com, JPF.LNBYB@ecf.inforuptcy.com
 Riebert Sterling Henderson shenderson@gibbsgiden.com
 Vivian Ho BKClaimConfirmation@ftb.ca.gov
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 Jeffrey S Shinbrot jeffrey@shinbrotfirm.com, sandra@shinbrotfirm.com
 Steven M Spector sspector@buchalter.com, IFS_efiling@buchalter.com;salarcon@buchalter.com
 United States Trustee (LA) ustpregion16.la.ecf@usdoj.gov
 Eric K Yaeckel yaeckel@sullivanlawgroupapc.com




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June 2012                                                                                         F 9013-3.1.PROOF.SERVICE
